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Exhibit 4 to Exhibit A

[Wrong Debtor, Modify Amount and Modify Priority Claims]
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Case 14-10979-CSS Doc 5251-9 Filed 08/10/15 Page 3o0f5

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‘Te? “dUYOD SONIGIOHN AUN.LNd ADWANA
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‘Te 3? “dUOD SONICTOH FUN.LNA ADWANA
Case 14-10979-CSS Doc 5251-9 Filed 08/10/15 Page 5of5

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‘Te 2 “TUOD SDONIGTIOH FuN.LNd ADYANA
